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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )              8:06CR92
                       Plaintiff,                  )
                                                   )
       vs.                                         )              ORDER
                                                   )
RYAN M. DEVINE and                                 )
HEATHER D. CRONKHITE,                              )
                                                   )
                       Defendant.                  )
       This matter is before the court on the motion to continue by defendant Heather D.
Cronkhite (Cronkhite) (Filing No. 34). Cronkhite seeks a continuance of the trial of this
matter for at least thirty days.    Cronkhite's counsel represents that counsel for the
government has no objection to the motion. Cronkhite's counsel represents that Cronkhite
will submit an affidavit in accordance with paragraph 9 of the progression order whereby
Cronkhite consents to the motion and acknowledges she understands the additional time
may be excludable time for the purposes of the Speedy Trial Act. Upon consideration, the
motion will be granted. Trial will be continued as to both defendants.


       IT IS ORDERED:
       1.     Cronkhite's motion to continue trial (Filing No. 34) is granted.
       2.     Trial of this matter as to both defendants is re-scheduled for August 14,
2006, before Chief Judge Joseph F. Bataillon and a jury. The ends of justice have been
served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e.,
the time between June 27, 2006 and August 14, 2006, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason
that defendant's counsel requires additional time to adequately prepare the case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 27th day of June, 2006.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
